Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 1 of 13




                             UN ITED STA TES D ISTRICT CO URT
                             SO UTHER N D ISTR ICT O F FLO RIDA

                                       CaseN o.15-cr-20545


    UNITED STATES O F A M ERICA,

    VS.

    GU STA VO J.GIRAI,,

    Defendant.


                                       PLEA AG REEM EN T

          A ny reference to the United Statesorthe Governm entin thisagreem entshallm ean the

    Fraud Section,Crim inalDivision,United StatesDepartm entofJustice. UnderFederalRule of

    CriminalProcedure11,theGovernment,GUSTAVO J.GIRAL (hereinafterreferredtoasthe
    Srefendanf),andtheDefendant'scounselenterintothefollowingguiltypleaagreement:
                                               @
           1.    The Defendantagreesto plead guilty to three counts in the lndictm entasfollow s:

    Count1charging him w ith Conspiracy to Com m itW ire Fraud,in violation ofTitle 18,United

    StatesCode,Section 1349;Count2 charging him w ith W ireFraud in violation ofTitle 18,United

    StatesCode,Section l343;and Count9 charging him w ith Conspiracy to Com m itM oney

    LaunderinginviolationofTitle18,UnitedStatesCode,Section 1956(h).
          2.     The defendantisaw arethatthe sentencew illbe im posed by the courtafter

   consideringtheFederalSentencing GuidelinesandPolicy Statements(hereinafterttsentencing
   Guidelines'').Thedefendantacknowledgesandunderstandsthatthecourtwillcomputean
   advisory sentenceunderthe Sentencing Guidelinesand thattheapplicable guidelinesw illbe


                                                   1
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 2 of 13




   determ ined by the courtrelying in parton the resultsofa Pre-sentence lnvestigation by the

   court'sprobation office,w hich investigation willcom m ence afterthe guilty plea hasbeen

   entered. '
            Fhe defendantisalso aw are that,undercertain circum stances,the courtm ay departfrom

   the advisory sentencing guideline range thatithascom puted,and m ay raise orlow erthatadvisory

   sentence underthe Sentencing G uidelines. The defendantisfurtheraw are and understandsthat

   the courtisrequired to considertheadvisory guideline range determ ined underthe Sentencing

   Guidelines,butisnotbound to im posethatsentence;the courtisperm itted to tailorthe ultim ate

   sentence in lightofothersttutory concerns,and such sentence m ay be eitherm ore severe orless

   severethan the Sentencing Guidelines'advisory sentence. Know ing these facts,the defendant

   understandsand acknowledgesthatthe courthasthe authority to im pose any sentencew ithin and

   up to the statutory m axim um authorized by law forthe offensesidentified in paragraph 1 and that

  the defendantm ay notw ithdraw the plea solely asa resultofthe sentence im posed.

          3.     The defendantunderstandsthatthe m axim um sentencesthatcan beim posed for

  theviolationschargedintheIndictmentare:Count1-uptotwenty(20)years'imprisonment,a
  fineofnotmorethan$250,000ortwicethepecuniarygainorlosspursuantto18U.S.C.j
  3571(d)andthree(3)years'supervisedrelease;Count2-uptotwenty(20)years'imprisonment,
  afineofnotmorethan$250,000ortwicethepecuniarygainorlosspursuantto 18U.S.C.j
  357l(d)andthree(3)years'supervisedrelease;andCount9-uptotwenty(20)years'
  imprisonment,afineofnotmorethan$500,000andthree(3)years'supervisedrelease.
  Furtherm ore,w ith respectto CountsOne and Two,the defendantunderstandsand acknowledges




                                                 2
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 3 of 13




   thatthecourtm ustorderrestitution pursuantto Title 18,United StatesCode,Section 3663A . The

   defendantagreestopayrestitutionof$11,503,068.
                 The defendantfurtherunderstandsand acknowledgesthat,in addition to any

   sentence imposed underparagraph 3 ofthisagreem ent,a specialassessm entin the am ountof

   $100percount($300total)willbeimposedonthedefendant.Thedefendantagreesthatany
   specialassessm entimposed shallbe paid by thetim e ofsentencing.

          5.     The United Statesreservestherightto inform the courtand the probation office of

   a1lfactspertinentto the sentencing process,including al1relevantinform ation concerning the

   offensescommitted,whetherchargedornot,andthedefendant.Subjectonlytotheexpressterms
   ofany agreed-upon sentencing recom m endationscontained in thisagreem ent,the United States

   furtherreservesthe rightto m ake any recomm endation asto the quality and quantity of

   punishment.

          6.     The United States,although notbinding on the probation office orthe court,will

   recom m end thatthe courtim pose asentencew ithin the advisory sentencing guideline range

   produced by application ofthe Sentencing Guidelines. The defendantretainshisrightto argue

   foravariancefrom theSentencingGuidelinesunderl8U.S.C.j3553.
                 Although notbinding on the probation office orthe courq the United Statesw ill

   recom m end thatthe courtneitherdepartupw ard nordepartdownw ard underthe Sentencing

   Guidelineswhen determ ining the advisory sentencing guideline range in thiscase.

          8.     The Govem m entreservesthe rightto evaluate the nature and extentofthe

  defendant'scooperation and to m ake hiscooperation,orlack thereof,known to the Courtatthe
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 4 of 13




   timeofsentencing.lfinthesoleandunreviewablejudgmentoftheGovernment,theDefendant's
   cooperation isofsuch quality and significanceto the investigation orprosecution ofother

   crim inalm attersasto w arrantthe Court'sdownward departure from the sentence required by the

    Sentencing Guidelines,the G overnm ent,atorbefore sentencing,m ay m ake a m otion pursuantto

    Section5K1.1oftheGuidelinesandTitle18,UnitedStatesCode,Section3553/)orafter
    sentencing,pursuantto Rule 35 ofthe FederalRulesofCrim inalProcedure,reflecting thatthe

   Defendanthasprovided substantialassistance and recom m ending a sentence reduction.The

   Defendantacknow ledges and agrees,however,thatnothing in thisPlea A greem entm ay be

   construed to require the Governm entto t5le such a m otion and thatthe Governm ent'sassessm ent

   ofthe nature,value,truthfulness,completeness,and accuracy ofthe D efendant'scooperation shall

   bebinding on the Defendant. Further,the Defendantacknowledgesand agreesthathe m ay not

   withdraw hisplea ofguilty ifthe Govem m entdoesnott5le am otion pursuantto Section 5K 1.1of

   theGuidelinesandTitle18,UnitedStatesCode,Section3553/)orpursuanttoRule35ofthe
   FederalRules ofCrim inalProcedure.

          9.      TheD efendantunderstandsand acknow ledgesthatthe Courtis undernö obligation

   to granta Governm entm otion pursuantto Section 5K 1.1ofthe Guidelinesand Title 18,United

   StatesCode,Section3553/)orpursuanttoRule35oftheFederalRulesofCriminalProcedure,
   asreferred to in paragraph 9 ofthisPlea Agreem ent,should theG ovem mentexercise its

   discretion to file such a m otion.




                                                 4
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 5 of 13




                 TheU nited Statesagreesthatitwillrecom m end atsentencing thatthe courtreduce

   by two levelsthe sentencing guideline levelapplicableto the defendant'soffense,pursuantto

   Section3E1.1(a)oftheSentencingGuidelines,baseduponthedefendant'srecognitionand
   affirmativeand tim ely acceptance ofpersonalresponsibility. lfatthe tim e ofsentencing the

   defendant'soffense levelisdeterm ined to be l6 orgreater,the governm entw illm ake am otion

   requestinganadditionaloneleveldecreasepursuanttoSection3E1.l(b)oftheSentencing
   Guidelines,stting thatthedefendanthasassisted authoritiesin the investigation orprosecution of

   hisown m isconductby tim ely notifying authorities ofhis intention to entera plea ofguilty,

   thereby perm itting the governm entto avoid preparing fortrialand perm itting the governmentand

   thecourtto allocate theirresourcesefficiently. TheUnited States,however,w illnotbe required

   tomaketheserecommendationsifthedefendant:(1)failsorrefusestomakeafull,accurateand
   coinplete disclosure to the probation officeofthe circum stances surrounding the relevantoffense

   conduct;(2)isfoundtohavemisrepresentedfactstothegovernmentpriortoenteringintothis
   pleaagreement;(3)commitsanymisconductaAerenteringintothispleaagreement,includingbut
   notlim ited to comm itting a state orfederaloffense,violating any term ofrelease,orm aking false

   statementsormisrepresentationstoanygovernmenulentityorofficial;or(4)failsorrefusesto
   m ake afull,accurate and com pletedisclosureto the probation office and to the governm ent

   regarding hispersonaland financialcondition,including completing allfinancialdisclosure form s

   provided by the governm entorthe probation office and providing a1lrecordsconcerning his

   financialcondition.
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 6 of 13




          11.     TheUnited Statesand the defendantagree that,although notbinding on the

   probationofficeorthecourt,theywilljointlyrecommendthatthecourtmakethefollowing
   tindingsand conclusionsutilizing theN ovem ber2015 Sentencing Guidelinesasto the sentence to

   be im posed:

          (i)     (U.S.S.G.j2B1.l(a)(1))BaseOffenseLevel:
                  SPECIFIC CHARACTERISTICS:

          (ii)    (U.S.S.G.jLossj2B1.1(b)(1)(K)1                          + 20
                  (Morethan$9,500,000butlessthan$25,000,000)
          (iii) EU.S.S.G j2Bl.1(b)(10)(C))
                (Sophisticatedmeans)
          (iv) (U.S.S.G.j2B1.2(b)1
               (Minorrollintheoffense)
                  M ON EY LA UND ERW G

          (v)     (U.S.S.G.j2S1.1(b)(2)(B)1
                  (18U.S.C.j 1956Moneylaunderingconviction)
                  TOTAL(withoutacceptanceadjustment)                       29


                  The defendantis aware thatthe sentence hasnotyetbeen determ ined by the court.

   Thedefendantalso isaware thatany estim ate oftheprobable sentencing range orsentence that

   thedefendantm ay receive,w hetherthatestim ate com esfrom the defendant's attorney,the

   governm ent,orthe probation office,isaprediction,notaprom ise,and isnotbinding on the

   governm ent,theprobation oftice orthe court. Thedefendantunderstandsfurtherthatany

   recom m endation thatthe governm entm akesto the courtasto sentencing,whetherpursuantto this



                                                6
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 7 of 13




     agreem entorotherwise,isnotbinding on the courtand the courtm ay disregard the

     recom m endation in itsentirety. The defendantunderstandsand acknow ledges,aspreviously

     acknow ledged in paragraph 2 above,thatthedefendantm ay notwithdraw hisplea based upon the

     court'sdecisionnotto acceptasentencingrecommendation madeby thedefendant,the

     government,orarecommendationmadejointlybyboththedefendantandthegovernment.
            l3.    Thedefendantisaw arethatTitle 18,United StatesCode,Section 3742 affordsthe

     defendantthe rightto appealthe sentence im posed in thiscase. A cknowledging this,in exchange

     forthe undertakingsm adeby thegovernm entin thisplea agreement,the defendanthereby waives

    allrightsconferred by Section 3742 to appealany sentence imposed,including any restitution

    order,orto appealthe m annerin which the sentence was im posed,orto collaterally attack the

    conviction,any sentence im posed,orthe m annerin w hich sentence was im posed,including any

    restitution order,pursuantto Title 28,United States Code,Sections2241,2254,2255 orany other

    applicableprovision,unlessthe sentence exceedsthe m axim um perm itted by statute oristhe

    resultofan upw ard departure from the Guideline range thatthe Courtestablishes atsentencing

    provided,how ever,that,consistentw ith principlesofprofessionalresponsibility imposed on the

    Defendant'scounseland counselforthe Govem m ent,theD efendantdoesnotwaivethe rightto

    challenge the sentenceto the extentthatitistheresultofa violation ofthe Defendant's

    Constim tionalrightsbased on claim sofineffective assistance ofcounselOrprosecutorial

    misconductofConstitutionaldimension.'fhedefendantfurtherunderslndsthatnothinginthis
    pleaagreem entshallaffectthegovernm ent'srightand/orduty to appealassetforth in Title l8,

    UnitedStatesCode,Section3742(19.However,ifthegovernmentappealsthedefendant's
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 8 of 13




   sentencepursuanttoSection3742(1$,thedefendantshallbereleasedfrom theabovewaiverof
  appellaterights. By signing thisplea agreem ent,the defendantacknow ledgesthathe has

  discussed the appealand collateralattack waiversetforth in thisplea agreem entw ith defendant's

  attorney. Thedefendantfurtheragrees,togetherw ith the governm ent,to requestthatthe Court

  entera specific finding thatthe defendant'swaiverofthe rightto appealthe sentence to be

  imposed in thiscasew asknow ing and voluntary.

         14.     In the eventthedefendantw ithdraws from thisagreem entpriorto pleading guilty

  to the chargesidentified in paragraph 1 above orotherwise failsto fully com ply with any ofthe

  term softhisplea agreem ent,the United Stateswillbe released from itsobligationsunderthis

  agreement,andthedefendantagreesandunderstandsthat:(1)hetherebywaivesanyprotection
  affordedbySection lB1.8(a)oftheSentencingGuidelines,Rule11(9 oftheFederalRulesof
  Crim inalProcedure,and Rule 410 ofthe FederalRulesofEvidence,and thatany statem entsm ade

  by him aspartofplea discussions,any debriefingsorinterview s,whetherm ade priorto orafter

  the execution ofthisagreem ent,w illbe adm issible againsthim withoutany lim itation in any civil

  orcriminalproceeding;and(2)thedefendantstipulatestotheadmissibilityandauthenticity,in
  any case broughtby the United Statesin any way related to the offensescharged,ofany

  docum entsprovided by the defendantorhisrepresentativesto:the Office ofInspectorGeneral,

  Office oflnvestigations,Export-lmportBank ofthe United States;theInternalRevenue Service-

  Crim inallnvestigation;the Departm entofHom eland Security - H om eland Security

  lnvestigations;the FederalBureau oflnvestigation;and/orthe governm ent.




                                                8
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 9 of 13




          15.     The United Statesrepresentsthattheundersigned prosecutorisunaw are ofany

   inform ation establishing the factualinnocence ofthedefendantin the offense referred to in

   paragraph oneofthisagreement. The United Statesunderstandsthatithas a continuing duty to

   provide such inform ation establishing factualinnocence ofthe defendant. The defendant

   understandsthatifthiscase proceeded to trial,the governm entwould be required to provide

   im peachmentinform ation relating to any inform antsorotherw itnesses. In addition,ifthe

   defendantraised an affirm ative defense,the governm entw ould berequired to provideinfonnation

   in itspossession thatsupportssuch a defense. Further,ifthiscase proceeded to trial,the

   governm entwould berequired to provide otherinform ation and m aterialsin accordance with Fed.

   R.Crim .P.16 and the Southem D istrictofFlorida'sStanding D iscovery Order. In return forthe

   govem m ent'sprom isessetforth in thisagreem ent,the defendantwaivestherightto receive in

   discovery any such infonnation and materialsotherthan inform ation and m aterialsestablishing

   the factualinnocence ofthe defendant,and agreesnotto attem ptto w ithdraw the guilty plea orto

   filea collateralattack based on the existence ofsuch inform ation and m aterialsotherthan

   inform ation and m aterials establishing the factualinnocence ofthe defendant.

          l6.    The United States agreesthatitwillnotseek additionalupward specific offense

   characteristics,enhancem ents,orupw ard departuresto orfrom thedefendant'soffense level

   beyond those,ifany,specifically referred to in thisagreem ent,exceptthatthe governmentshall

   have therightin itsdiscretion to seek additionalupward specific offense characteristics,

   enhancem ents,orupw ard departuresto orfrom the defendant'soffense levelbeyond those,ifany,

   specifically referred to in this agreem entwhere any such additionalupw ard specificoffense
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 10 of 13




    characteristics,enhancem ents,orupward depaduresto orfrom the defendant'soffense level

    would bebased on conductoccurring afterthe defendantenters into this agreem ent. The

    defendantagreesthathew illnotseek additionaldow nward specific offense characteristics,

    reductions,ordownward departuresto orfrom the defendant'soffense levelbeyond those,ifany,

    specifically referred to in thisagreem ent. H ow ever,in the eventthe probation officerecom m ends

    any specitic offense characteristics,enhancem ents,reductions,prdeparturesto orfrom the

    defendant'soffense levelotherthan those,ifany,specifically referred to in thisagreem ent,either

    party shallhave the rightbutnotthe obligation to opposeany such recom m endation.

                  Counselforthe defendantagreesthatifan interpreterisrequired to assistthe

    defendantin translating thisPlea A greem entinto defendant'snative language,then counselw ill

    requesttheCourt,pursuantto28U.S.C.j1827,''TheCourtlnterpreter'sAct,''tosecurethe
    serviéesofa certified interpreteratCourtexpense to verbally translatethe PleaA greem entand

    related docum entsforthe defendantinto the defendant'snative language. lfno such requestis

    m ade,then thedefendantand counselhereby declare thatthe defendantunderstandstheEnglish

    language sufficiently w ellto read and understand thisPlea Agreement.

           l8.    The defendantagreesto identify allassetsoverwhich he exercisesorexercised

    control,directly orindirectly,within thepastthree years,orin which he has orhad during that

   tim e any financialinterest.The defendantagreesto takt allsteps asrequested by the governm ent

   to obtain from any otherparties by any lawfulm eansany recordsofassetsow ned atany tim e by

   the defendant. 'I'
                    hedefendantagreesto forfeitto the United Statesallofhisinterestsin any asset

   ofavalueofmorethan$1,000that,within thelastthreeyears,heowned,orin which he



                                                  10
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 11 of 13




   m aintained an interest,the ow nership ofwhich the defendantfailsto discloseto the govem m ent

    in accordance with thisPlea Agreem ent.

           19.    Thedefendantvoluntarily agreesto the Court's entry ofa forfeiture orderin the

    amountof$4l,924,418.Thedefendantfurtheragreestowaiveallinterestinany suchassetin

    anyadministrativeorjudicialforfeitureproceeding,whethercriminalorcivil,stateorfederal.
    The defendantagreesto consentto theentry oforders offorfeiture for such property and waives

   therequirem entsofFederalRulesofCrim inalProcedure 32.2 regarding notice ofthe forfeiture in

   the charging instrum ent,announcem entofthe forfeiture atsentencing,and incorporation ofthe

    forfeitureinthejudgment.Thedefendantacknowledgesthatheunderstandsthatthefodkitureof
    assetsispartofthe sentencethatm ay be im posed in thiscase and thedefendantwaivesany

   failurebytheCourttoadvisehim ofthis,pursuanttoRule11(b)(1)(J),atthetimethedefendant's
   guilty plea isaccepted.

          20.    The defendantfurtheragreesto w aive allconstitutionaland statutory challenges in

   anymanner(includingdirectappeal,habeascorpus,oranyothermeans)toanyforfeiturecarried
   outin accordance with thisPlea Agreem enton any grounds,including thatthe forfeiture

   constitutesan excessive fine orpunishm ent. The defendantagreesto take allstepsasrequested

   by thegovem m tntto passcleartitleto forfeitable assetsto the United States,and to testify

   truthfullyinanyjudicialforfeitureproceeding.Thedefendantacknowledgesthata11property
   coveredbythisPleaAgreementissubjecttoforfeitureas(1)proceedsofillegalconduct;(2)
   propertyfacilitatingillegalconduct;(3)propertyinvolvedinillegalconductgivingriseto
   forfeiture;and/or(4)substituteassetsforpropertyotherwisesubjecttoforfeiture.


                                                 11
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 12 of 13




                 Defendantrecognizesthatpleading guilty m ay have consequencesw ith respectto

   hisimm igration statusifhe isnota citizen oftheUnited States.U nderfederallaw,abroad range

   ofcrim esare rem ovable offenses,including theoffensesto which defendantispleading guilty.

   lndeed,becausedefendantispleading guiltyto fraudcharges,removalispresumptively

   mandatory.Removalandotherimmigrationconsequencesarethesubjectofaseparate
   proceeding,however,and defendantunderstandsthatno one,including his attorney orthe district

   court,can predictto a certainty theeffectofhisconviction on his imm igration status. D efendant

   neverthelessaffirm sthathew antsto plead guilty regardlessofany im m igration consequences

   thathisplea m ay entail,even ifthe consequence ishisautom atic rem ovalfrom theUnited States.

          22.    Thisisthe entire agreem entand understanding between the United States,the

   defendantand thedefendant'scounsel. Thert are no otheragreem ents,prom ises,representations,

   orunderstandings.

                                              A NDREW W EISSM AN N
                                              ChiefFraud Section
                                              Crim inal'D ivision
                                              U nited StatesD epartm entofJustice

                                              Approved by:

                                              BEN JA M m D .SIN GER
                                              Deputy Chief
                                              Fraud Section,Crim inalDivision
                                              United StatesDepartm entofJustice




                                                12
Case 1:15-cr-20545-JAL Document 74 Entered on FLSD Docket 03/01/2016 Page 13 of 13




   Date:                            By:               '
                                    W LIA M H. O
                                    TrialAttorney
                                    Florida Bar# A 5501472
                                    PA TRICK M .D ON LEY
                                    SeniorLitigation Counsel
                                    Florida Bar# A 5501108
                                    Fraud Section,Crim inalDivision
                                    U nited StatesDepartm entofJustice


   Date: z/a:h.u                 By: W W        fk.
                                                  *nAx9
                                    DAN IEL ECARIUS,Esq.
                                    Atto   forDefendant


   Date: 2 fgz & ï
           -                     By:
                                    GU S AV O J.GIRAL
                                    Defendant
